                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                  No. CR 08-0078
 vs.                                               ORDER REGARDING
                                              MAGISTRATE’S REPORT AND
 JORDAN McCONNELL,                                 RECOMMENDATION
                                               CONCERNING DEFENDANT’S
               Defendant.                             GUILTY PLEAS
                                 ____________________


                      I. INTRODUCTION AND BACKGROUND
       On November 19, 2008, a four-count Indictment was returned against the defendant
Jordan McConnell. On January 7, 2009, a one-count Information was filed against the
defendant Jordan McConnell. On January 8, 2009, the defendant appeared before United
States Magistrate Judge Jon S. Scoles and entered pleas of guilty to Count 4 of the
Indictment and Count 1 of the Information. On January 8, 2009, Judge Scoles filed a
Report and Recommendation in which he recommended that defendant’s guilty pleas be
accepted. No objections to Judge Scoles' Report and Recommendation were filed. The
court, therefore, undertakes the necessary review of Judge Scoles' recommendation to
accept defendant’s pleas in this case.


                                     II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or


    Case 1:08-cr-00078-CJW-MAR           Document 72    Filed 01/23/09    Page 1 of 2
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles' findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Scoles' Report and Recommendation of January 8,
2009, and accepts defendant’s pleas of guilty in this case to Count 4 of the Indictment and
Count 1 of the Information.
       IT IS SO ORDERED.
       DATED this 23rd day of January, 2009.




    Case 1:08-cr-00078-CJW-MAR          Document 72      Filed 01/23/09    Page 2 of 2
